                                Case 2:20-mj-01026 Document 1 Filed 06/17/20 Page 1 of 1
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                                                           LaBAR)                                                           20-065


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                     8QLWHG6WDWHVRI$PHULFD
                                Y
                          DAVID ELMAKAYES                                                          &DVH1R 20-1026




                                Defendant(s)


                                                              CRIMINAL COMPLAINT
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2QRUDERXWWKHGDWH V RI                                JUNE 3, 2020                            LQWKHFRXQW\RI          PHILADELPHIA           LQWKH
       Eastern              'LVWULFWRI                Pennsylvania                 WKHGHIHQGDQW V YLRODWHG

               Code Section                                                                          Offense Description
 Title 18, United States Code,                              Maliciously damaging property used in interstate commerce by means of an
 Section 844(i).                                            explosive.


 Title 18, United States Code,                              Felon in possession of a firearm.
 Section 922(g)(1).



            7KLVFULPLQDOFRPSODLQWLVEDVHGRQWKHVHIDFWV
 See attached affidavit.




            ✔ &RQWLQXHGRQWKHDWWDFKHGVKHHW
            u

                                                                                                                      s/ David L. O'Brien
                                                                                                                      Complainant’s signature

                                                                                                             ATF Special Agent David L. O'Brien
                                                                                                                       Printed name and title

6ZRUQWREHIRUHPHDQGVLJQHGLQP\SUHVHQFH


'DWH                06/17/2020                                                                                        s/ Marilyn Heffley
                                                                                                                         Judge’s signature

&LW\DQGVWDWH                                Philadelphia, PA.                                            U.S. Magistrate Judge Marilyn Heffley
                                                                                                                       Printed name and title
